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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA                                :      CRIMINAL NO. 22-cr-15 (APM)
                                                            :
                  v.                                        :
                                                            :
    ELMER STEWART RHODES III,                               :
                                                            :
    KELLY MEGGS,                                            :
                                                            :
    KENNETH HARRELSON,                                      :
                                                            :
    JESSICA WATKINS, and                                    :
                                                            :
    THOMAS CALDWELL,                                        :
                                                            :
                 Defendants.                                :

      GOVERNMENT’S OPPOSITION TO DEFENDANT CALDWELL’S MOTION IN
      LIMINE TO ADMIT CERTAIN INCONSISTENT STATEMENTS MADE BY THE
                              GOVERNMENT

           Defendant Thomas Caldwell has moved to admit with “appropriate redactions” hundreds

of pages of pleadings, court transcripts, earlier indictments, and a television interview made by the

former US Attorney for the District of Columbia. ECF 299. The government does not object to

admitting, in toto, the pleadings and statements made by the government during the course of this

litigation. 1 However, without further information about which precise statements Caldwell seeks

to redact or admit, his motion should be denied. 2

                                                   ARGUMENT


1
    Under the rule of completeness, the government would seek to admit the current indictment, as well.
2
  In passing, Defendant Caldwell notes that he may call former US Attorney Michael Sherwin as a witness at trial.
ECF 299 at 2. If so, the defendant must comply with the Department of Justice’s Touhy regulations and provide an
“affidavit, or, if that is not feasible, a statement . . . setting forth a summary of the testimony sought.” 28 CFR 16.23
(c). See generally United States ex rel. Touhy v. Ragen, 340 U.S. 462 (1951). Touhy regulations include former
Department of Justice employees questioned about their duties while employed with the Department. See 28 CFR
16.21(a) (covering “any information acquired by any person while such person was an employee of the Department
as a part of the performance of that person’s official duties or because of that person’s official status”).
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       In certain circumstances, the defense may introduce sworn statements and signed

documents made by the government as statements of a party opponent. United States v. Morgan,

581 F.2d 933, 938 (D.C. Cir. 1978)). Unsworn statements made during the course of an

investigation are not automatically entitled to the same treatment. United States v. Warren, 42

F.3d 647 (D.C. Cir. 1994). “The D.C. Circuit appears to be motivated by the principle that holding

the government to the assertions of a public official who is unrelated to the prosecution is unfair,

unless the government manifestly adopts the statement before the court.” United States v. Bagcho,

151 F. Supp. 3d 60, 69 (D.D.C. 2015). Admissions by the government that would mislead or

confuse the jury are not admissible. See United States v. Brown, 503 F. Supp. 2d 226, 229 (D.D.C.

2007) (holding that certain prior government pleadings sought to be admitted by the defense would

“mislead the jury”). As with any statement, the court may admit additional documents as necessary

under the rule of completeness. Id. As always, a trial court may prevent the introduction of

evidence   “if   its   probative   value   is   substantially   outweighed   by   the   danger   of

unfair prejudice, confusion of the issues, or misleading the jury, or by considerations

of undue delay, waste of time, or needless presentation of cumulative evidence.” United States v.

Watson, 409 F.3d 458, 463 (D.C. Cir. 2005).

       Without further information about what exactly the defense seeks to admit, the government

opposes the motion. Far from the defendant’s claim that the government engages in “Jedi mind

trick[s]” (ECF 299 at 2), the government’s various pleadings and superseding indictments have

added charges and defendants consistent with the evidence that the government obtained in the

course of hundreds of interviews, subpoenas, and search warrants. Generally, the government’s

chief concern regarding the defendant’s proposal is that the documents would prejudice the


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government and various defendants. Lay juries should not be expected to understand the processes

of criminal law and would likely be confused by the various documents offered by the defense.

Further, many of the documents offered by the defense include references to materials that the

defense has sought to preclude from the trial.

       Caldwell claims that he seeks to admit prior inconsistent made by the government. ECF

No. 299 at 6-7. But he never identifies a prior government statement that is allegedly inconsistent

with a later government statement.

                                              CONCLUSION

       The government respectfully opposes the defendant’s motion to admit prior pleadings,

indictments, and interviews of government officials as statements of a party opponent. In the

alternative, the government has no objection to prior pleadings, transcripts, and indictments being

admitted, as long as they are admitted in their entirety.



                                               Respectfully submitted,

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